Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 1 of 29

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SUSAN ROMAN, individually and on Case No.:
behalf of all others similarly situated,
Complaint--Class Action

Plaintiff,
v.

COMMUNITY HEALTH SYSTEMS,
INC., a Delaware corporation, and
COMMUNITY HEALTH SYSTEMS
PROFESSIONAL SERVICES
CORPORATION, a Delaware
corporation,

Defendants.

 

 

CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff Susan Roman brings this Class Action Complaint and Demand for
Jury Trial against Defendants Community Health Systems, Inc. and Community
Health Systems Professional Services Corporation (collectively referred to in the
singular as “Community Health”) and alleges as follows upon personal knowledge
as to herself and her own acts and experiences, and, as to all other matters, upon
information and belief, including investigation conducted by her attorneys.

NATURE OF THE ACTION
1. Plaintiff brings this class action lawsuit against Community Health for

its failure to protect its patients’ confidential sensitive information—including their

1
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 2 of 29

protected health information as defined by the Health Insurance Portability and
Accountability Act (“HIPAA”), Social Security numbers, full names, addresses,
dates of birth, and telephone numbers (collectively, “Sensitive Information”).

2. Community Health is one of the largest hospital organizations in the
country, with over 206 facilities in 29 states.

3. As a health care provider, Community Health is required to protect its
patients’ Sensitive Information by adopting and implementing the specific data
security regulations and standards set forth under HIPAA.

4. In addition to its implied statutory obligation, Community Health
expressly promises—through its privacy policies and patient agreements—to
safeguard and protect the confidentiality of its patients’ Sensitive Information in
accordance with HIPAA regulations and industry standards.

5. Unfortunately, it took a massive medical data breach (the largest of its
type, in fact) to reveal—for the first time—that Community Health failed to
provide its patients’ with the level of data protection that they were promised and
for which they paid for.

6. Indeed, in July 2014, Community Health confirmed that its computer
network had been breached and that the Sensitive Information of approximately

4.5 millions of its patients—including their names, addresses, telephone numbers,
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 3 of 29

dates of birth, and Social Security numbers—was compromised.

7. Early reports suggest that third parties were able to gain access to
Community Health’s network—and the highly Sensitive Information it
contained—by exploiting a widely-known vulnerability in their server’s encryption
software, commonly referred to as the “Heartbleed bug.” As discussed more fully
below, the Heartbleed bug essentially allows anyone on the Internet to access
vulnerable servers (like Community Health’s) and to, in turn, steal data directly
from them. Unfortunately, Community Health didn’t fix this well-publicized
vulnerability (despite readily available solutions), nor did it implement adequate
protections to detect and remove other security threats, which resulted in this
massive data breach.

8. By maintaining its patients’ Sensitive Information in electronic
databases that lacked crucial security measures and industry standard data
protections, Community Health jeopardized millions of its patients’ Sensitive
Information and broke the paid-for promises and contractual obligations that it
made to its patients through its patient agreements and privacy policies.

9. Unfortunately, as a result of Community Health’s failure to implement
and follow these basic security procedures, Plaintiff's and the Class’s Sensitive

Information is now in the hands of unknown third parties.
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 4 of 29

PARTIES

10. Plaintiff Susan Roman is a natural person and citizen of the
Commonwealth of Pennsylvania.

11. Defendant Community Health Systems, Inc. is a corporation existing
under the laws of the State of Delaware with its principal place of business located
at 4000 Meridian Boulevard, Franklin, Tennessee 37067. Defendant Community
Health Systems, Inc. is also registered to conduct business in the Commonwealth
of Pennsylvania. Defendant Community Health Systems, Inc. conducts business
throughout this District, the Commonwealth of Pennsylvania, and the United
States.

12. Defendant Community Health Systems Professional Services
Corporation is a corporation existing under the laws of the State of Delaware with
its principal place of business located at 4000 Meridian Boulevard, Franklin,
Tennessee 37067. Defendant Community Health Systems Professional Services
Corporation is also registered to conduct business in the Commonwealth of
Pennsylvania. Defendant Community Health Systems Professional Services
Corporation conducts business throughout this District, the Commonwealth of

Pennsylvania, and the United States.
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 5 of 29

JURISDICTION AND VENUE

13. This Court has subject matter jurisdiction over this action pursuant to
28 U.S.C. § 1332(d)(2) because (a) at least one member of the putative Class is a
citizen of a state different from Defendants, (b) the amount in controversy exceeds
$5,000,000 exclusive of interest and costs, and (c) none of the exceptions under
that subsection apply to this action.

14. This Court has personal jurisdiction over Defendants because they are
registered to conduct business in Pennsylvania, regularly conduct business in
Pennsylvania, have hospitals and other offices located in Pennsylvania, and the
unlawful conduct alleged in the Complaint occurred in, was directed to, and/or
emanated, in part, from Pennsylvania.

15. Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendants
reside in this District, and because the unlawful conduct alleged in the Complaint
occurred in, was directed to, and/or emanated, in part, from Pennsylvania. Venue is
additionally proper because Defendants maintain hospitals and other administrative
offices in this District.

FACTUAL BACKGROUND

Community Health’s Privacy Policies and Patient Agreements Promised to Keep
Patients’ Sensitive Information Confidential

16. Through its Notice of Privacy Practices (which all patients receive

5
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 6 of 29

upon admission to its hospitals and facilities), Community Health represented that
it would protect its patients’ Sensitive Information and keep it confidential. For
instance, the Notice of Privacy Practices stated in relevant part:

“We understand that medical information about you and your healthcare is
personal. We are committed to protecting medical information about you. A
record is created of the care and services you receive at this facility. This
record is needed to provide the necessary care and to comply with legal
requirements.”

“This notice applies to all of the records of your care generated by the
facility . .. This notice will tell about the ways in which the facility may use
and disclose medical information about you. Also described are your rights
and certain obligations we have regarding the use and disclosure of medical
information. The law requires the facility to: [m]ake sure that medical
information that identifies you is kept private; [i]nform you of our legal
duties and privacy practices with respect to medical information about you;
and [f]ollow the terms of the notice that is currently in effect... .””

17. Similarly, in its “Code of Conduct”, Community Health asserts the
following:

“When a patient enters a CHS affiliated facility, a large amount of personal,

medical, and insurance data is collected and used to satisfy information

needs including the ability to make decisions about a patient’s care. We
consider patient information highly confidential... .”°

 

} See Community Health’s Notice of Privacy Practices,

http://webapps.chs.net/HIPAA/ (last visited Aug. 26, 2014).

> Id.
; See Community Health Systems Code of Conduct 2014,
http://www.chs.net/wp-
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 7 of 29

“We are dedicated to compliance with all federal, state, and local
laws, rules, and regulations, including privacy and security of patient
health information... .”

18. Community Health reiterated its obligations to protect its patients’
Sensitive Information through many of its affiliate hospitals’ “Patient Rights and
Responsibilities” agreements, which stated that patients had the right to have their
“records related to care . . . to be treated as private.”

19. Community Health’s statements about its data security and
management practices—both through its privacy policies and public
representations—served to falsely inflate the advertised utility of its services, thus

allowing it and/or its affiliates to charge patients higher costs for treatment.

The Data Breach Revealed for the First Time That Community Health Failed to
Properly Protect its Patients’ Sensitive Information

20. In July 2014, Community Health confirmed that its computer network

was the target of an “external, criminal cyber attack that [it] believes occurred in

 

content/uploads/PDF/2014%20Code%200f%20Conduct.pdf (last visited Aug. 26,
2014).

4 Id.

° See, e.g., Patient Rights and Responsibilities,

http://www.mth.org.cl .previewmysite.com/patients-and-visitors/patients-rights/
(last visited Aug. 26, 2014).
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 8 of 29

April and June, 2014.”° Community Health’s database(s) contained the Sensitive
Information of over 4.5 million of its patients, including Plaintiff's and putative
Class members’ .’

21. On August 18, 2014, nearly five months after the breach, Community
Health Systems, Inc. filed a document with the United States Securities and
Exchange Commission detailing the results of its preliminary investigation into the
breach.

22. In that document, Community Health also represented that it would be
providing appropriate notification to affected patients and regulatory agencies as
required by federal and state law. As of the date of filing this Complaint, however,
Community Health has not mailed letters or otherwise contacted affected
individuals whose Sensitive Information was compromised to inform them of the

breach.

 

Community Health Systems, Inc.’s Form 8-K,

http://www.sec.gov/Archives/edgar/data/1108109/0001 193125143 12504/d776541
d8k.htm (last visited Aug. 26, 2014); see also Community Health Says Data Stolen
in Cyber Attack from China, http://www.reuters.com/article/2014/08/18/us-
community-health-cybersecurity-idUSKBNOGI16N20140818 (last visited Aug.
26, 2014).

7 See id.
8 Id.
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 9 of 29

Community Health Violated HIPAA and Industry Standard Data Protection
Protocols

23. HIPAA was enacted and became effective in 1996.

24. Title II of HIPAA contains what are known as the Administrative
Simplification provisions. 42 U.S.C. §§ 1301, et seg. These provisions require,
among other things, that the Department of Health and Human Services create
rules to streamline the standards for handling Sensitive Information, like the data
collected and stored in unsecure database(s) by Community Health. The
Department of Health and Human Services established standards to protect
electronic personal health information from unauthorized disclosure. These
standards require entities, such as Community Health, to adopt administrative,
physical, and technical safeguards to ensure the confidentiality, integrity, and
security of Sensitive Information.

25. Community Health’s data breach resulted from a variety of failures to
follow HIPAA guidelines and industry standards. Among such deficient practices,
Community Health’s breach shows that it failed to implement, or inadequately
implemented, information security policies or procedures such as those requiring
adequate encryption or similar protection of Sensitive Information. For instance,
Community Health didn’t implement adequate security protections designed to

-detect and remove security threats, such as the malware used to gain access to its

9
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 10 of 29

server here.” Worse still, Community Health didn’t patch a widely-known
vulnerability in its server’s encryption software'’ despite the availability of such
fixes.'!

26. Community Heath’s security failures demonstrate that it failed to

honor its express and implied promises by failing to:

a. Maintain an adequate data security system to prevent data
breaches;
b. Mitigate the risks of a data breach and unauthorized access to

Sensitive Information;

c. Adequately encrypt or otherwise protect Plaintiffs and the

 

? See Hospital Network Hacked, 4.5 Million Records Stolen,
http://fox59.com/2014/08/18/hospital-network-hacked-4-5-million-records-stolen/
(last visited Aug. 26, 2014).

0 This vulnerability is commonly referred to as the “Heartbleed bug.” In

technical parlance, the Heartbleed bug is a “vulnerability in the popular OpenSSL
cryptographic software library [i.e., a server’s encryption software] . . . This allows
anyone on the Internet to read the memory of the systems protected by the
vulnerable versions of the OpenSSL software . . . This allows attackers to
eavesdrop on communications, steal data directly from the services and users and
to impersonate services and users.” The Heartbeed Bug, http://heartbleed.com/
(last visited Aug. 26, 2014).

"I See Heartbleed Hack Still a Threat Six Months After Discovery,
http://www.bloomberg.com/news/2014-08-27/heartbleed-hack-still-a-threat-six-
months-after-discovery.html (last visited Aug. 26, 2014); see also Heartbleed to
Blame for Community Health Systems Breach,
http://www.csoonline.com/article/2466726/data-protection/heartbleed-to-blame-

10
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 11 of 29

Class’s Sensitive Information;

d. Ensure the confidentiality and integrity of electronic protected
health information it created, received, maintained, and
transmitted in violation of 45 CFR 164.306(a)(1);

e. Implement technical policies and procedures for electronic
information systems that maintain electronic protected health
information to allow access only to those persons or software
programs that have been granted access rights in violation of 45
CFR 164.312(a)(1);

f. Implement policies and procedures to prevent, detect, contain,
and correct security violations in violation of 45 CFR
164.308(a)(1);

g. Protect against any reasonably anticipated threats or hazards to
the security or integrity of electronic protected health
information in violation of 45 CFR 164.306(a)(2);

h. Protect against reasonably anticipated uses or disclosures of
electronic protected health information that are not permitted

under the privacy rules regarding individually identifiable

 

for-community-health-systems-breach.html (last visited Aug. 26, 2014).

11
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 12 of 29

health information in violation of 45 CFR 164.306(a)(3);

1. Ensure compliance with the HIPAA security standard rules by
its workforce in violation of 45 CFR 164.306(a)(4); and

j. Effectively train all members of its workforce on the policies
and procedures with respect to protected health information as
necessary and appropriate for the members of its workforce to
carry out their functions and to maintain security of protected
health information in violation of 45 CFR 164.530(b).

27. Had Community Health implemented proper security protocols to
properly encrypt and otherwise protect its patients’ Sensitive Information, the
consequences of the data breach would have been avoided (as it would have been
nearly infeasible to extract its patients’ data). Worse yet, Community Health knew
or should have known that a security breach could result from its deficient security
and privacy practices, as HIPAA and industry standard protections exist
specifically to prevent unauthorized access to Sensitive Information and because
fixes to the Heartbleed bug as well as the malware that infected its server were
readily available.

28. Even though Community Health patients both expected and paid for

the above-described security measures as part of their hospital experience (i.e., that

12
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 13 of 29

HIPAA-mandated and industry standards would have been used to protect their
Sensitive Information), they were not implemented, which resulted in the
unsecured release of their Sensitive Information and the loss of paid-for data
protection services.

Plaintiff Roman’s Experience

29. Prior to July 2014, Plaintiff Roman had been a patient of Community
Health’s affiliated hospitals and clinics.

30. As part of the patient-admission process, Roman was required to
provide Community Health with her Sensitive Information in exchange for an
agreement with Community Health to receive health care services and to protect
her Sensitive Information in accordance with HIPAA and industry standards.

31. As such, Roman paid Community Health for her medical care and,
among other aspects of her treatment, the protection of her Sensitive Information.

32. Had Roman known of Community Health’s substandard security
procedures and methods of protecting and storing her Sensitive Information, she
would have paid substantially less for Community Health’s health care services or
would not have paid at all (7.e., the value of health care services without adequate
protection of Sensitive Information is worth substantially less than the value of

such services with adequate protection).

13
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 14 of 29

33. Because Community Health did not sufficiently protect her Sensitive
Information, Roman did not receive the entirety of the services she paid for and, as
a result, she paid more than she otherwise would have for such services.

34. Worse yet, Roman only learned that her Sensitive Information was
compromised as a result of the breach after she learned about the breach and
subsequently contacted Community Health herself.

CLASS ACTION ALLEGATIONS

35. Class Definition: Plaintiff brings this action pursuant to Fed. R. Civ.
P. 23(a), (b)(2) and (3) on behalf of herself and a class and subclass of similarly
situated individuals, defined as follows:

Class: All persons in the United States and its territories who (i) paid

money to Community Health in exchange for health care related

services, and (ii) whose Sensitive Information was compromised as a

result of the data breach confirmed by Community Health in or
around July 2014.

Pennsylvania Subclass: All Class members who are residents of the
Commonwealth of Pennsylvania.

Excluded from the Class and Pennsylvania Subclass (collectively referred to as the
“Class,” unless otherwise indicated) is (i) any judge presiding over this action and
members of their families; (ii) Defendants, Defendants’ subsidiaries, parents,
successors, predecessors, and any entity in which Defendants or their parents have

a controlling interest and their current or former employees, officers and directors;

14
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 15 of 29

(iii) persons who properly execute and file a timely request for exclusion from the
Class; and (iv) the legal representatives, successors or assigns of any such excluded
persons, as well as any individual who contributed to the unauthorized access of
Community Health’s patient records.

36. Numerosity: The exact number of Class members is unknown to
Plaintiff at this time, but on information and belief, the Class is compromised of at
least hundreds of thousands of individuals throughout the country, making joinder
of each individual member impracticable. Ultimately, the members of the Class
will be easily identified through Defendants’ records.

37. Commonality and Predominance: Common questions of law and
fact exist as to all members of the Class and predominate over any questions
affecting only individual members, and include, but are not limited to:

a. Whether Defendants took steps and measures to adequately
safeguard Plaintiffs and the Class members’ Sensitive
Information;

b. Whether Defendants storing of Plaintiff's and the Class
members’ Sensitive Information in the manner alleged violated
industry standards and/or HIPAA;

Cc. Whether Defendants’ conduct described herein constitutes a

15
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 16 of 29

violation of the Pennsylvania Unfair Trade Practices and
Consumer Protection Law, 73 P.S. §§ 201-1, et seq.;

d. Whether implied or express contracts existed between
Defendants, on the one hand, and Plaintiff and the members of
the Class on the other;

e. Whether Defendants’ conduct described herein constitutes a
breach of their contracts with Plaintiff and the Class members;
and

f. Whether Defendants should retain the monies paid by Plaintiff
and other Class members to protect their Sensitive Information.

38.  Typicality: Plaintiffs claims are typical of the claims of the other
members of the Class. Plaintiff and the Class sustained damages as a result of
Defendants’ uniform wrongful conduct during transactions with Plaintiff and the
Class.

39. Adequate Representation: Plaintiff will fairly and adequately
represent and protect the interests of the Class, and has retained counsel competent
and experienced in complex litigation and class actions. Plaintiff has no interests
antagonistic to those of the Class, and Defendants have no defenses unique to

Plaintiff.

16
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 17 of 29

40. Policies Generally Applicable to the Class: This class action is also
appropriate for certification because Defendants have acted or refused to act on
grounds generally applicable to the Class, thereby requiring the Court’s imposition
of uniform relief to ensure compatible standards of conduct toward the members of
the Class, and making final injunctive relief appropriate with respect to the Class
as a whole. Defendants’ policies challenged herein apply and affect members of
the Class uniformly and Plaintiffs challenge of these policies hinges on
Defendants’ conduct with respect to the Class as a whole, not on facts or law
applicable only to Plaintiff or any other Class member.

41. Superiority: This class action is appropriate for certification because
class proceedings are superior to all other available methods for the fair and
efficient adjudication of this controversy and joinder of all members of the Class is
impracticable. The damages suffered by the individual members of the Class will
likely be small relative to the burden and expense of individual prosecution of the
complex litigation necessitated by Defendants’ wrongful conduct. Thus, it would
be virtually impossible for the individual members of the Class to obtain effective
relief from Defendants’ misconduct. Even if members of the Class could sustain
such individual litigation, it would not be preferable to a class action because

individual litigation would increase the delay and expense to all parties due to the

17
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 18 of 29

complex legal and factual controversies presented in this Complaint. By contrast, a
class action presents far fewer management difficulties and provides the benefits of
single adjudication, economies of scale, and comprehensive supervision by a single
court. Economies of time, effort, and expense will be fostered and uniformity of
decisions will be ensured.
FIRST CAUSE OF ACTION
Violations of the Pennsylvania Unfair Trade Practices and Consumer
Protection Law
73 PS. §§ 201-1, et seq.
(On Behalf of Plaintiff and the Pennsylvania Subclass)

42. Plaintiff incorporates the foregoing allegations as if fully set forth
herein.

43. The Pennsylvania Unfair Trade Practices and Consumer Protection
Law, 73 P.S. §§ 201-1, et seg. “UTPCPL”) protects consumers from, among other
things, unconscionable commercial practices, deception, fraud, false promises,
false pretenses, and/or misrepresentations.

44. Community Health is a “person” as defined by Section 201-2(2) of the
UTPCPL.

45. Community Health is/was engaged in “trade” and “commerce” as

defined by Section 201-2(3) of the UTPCPL.

46. As described herein, Community Health has engaged in unlawful

18
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 19 of 29

and/or deceptive conduct.

47. Through its Notice of Privacy Practices, patient agreements, and
security representations made on its websites, Community Health represented to
Plaintiff and the Pennsylvania Subclass that it would, inter alia, protect their
Sensitive Information, maintain the privacy of their Sensitive Information, follow
the terms of the Notice of Privacy Practices in protecting their Sensitive
Information, and comply with HIPAA and other federal and state law
requirements.

48. Community Health’s privacy and security promises were, in fact,
false. Community Health did not maintain an adequate electronic security system
to prevent data breaches, employ industry standard and commercially reasonable
measures to protect its patients’ Sensitive Information and mitigate the risks of any
data breach or otherwise comply with the data security requirements of the HIPAA
regulations, as promulgated under 45 CFR 164. Thus, Community Health’s
representations to Plaintiff and members of the Pennsylvania Subclass were false
when made.

49. Knowing that consumers are less likely to do business with companies
that fail to adequately protect their Sensitive Information, Community Health made

the false privacy and security representations with the intention that Plaintiff and

19
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 20 of 29

the Pennsylvania Subclass members would rely on them in contracting with
Community Health for medical services.

50. Because ordinary consumers lacked access to Community Health’s
proprietary information regarding its true privacy and security measures prior to
the April and June 2014 breach, Community Health’s false security and privacy
representations were likely to deceive consumers who had no other resource for
assessing Community Health’s privacy and security practices.

51. Had Community Health disclosed its true security practices—which
did not comply with state and federal law—Plaintiff and the Pennsylvania Subclass
would have paid substantially less for Community Health’s health care services or
would not have paid at all (7.e., the value of health care services without adequate
protection of Sensitive Information is worth substantially less than the value of
such services with adequate protection).

52. Community Health’s deceptive and misleading actions were
perpetuated while providing health care-related services to its patients, and
therefore occurred during the course of its business practices.

53. Accordingly, and pursuant to 73 P.S. § 201-9.2(a), Plaintiff, on behalf
of herself and the Pennsylvania Subclass, seeks: (i) injunctive and equitable relief

as is necessary to protect the interests of Plaintiff and the Pennsylvania Subclass;

20
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 21 of 29

(ii) actual damages or statutory damages of one hundred dollars ($100), whichever
is greater; and (iii) reasonable costs and attorneys’ fees.
SECOND CAUSE OF ACTION
Breach of Express Contract
(On Behalf of Plaintiff and the Class)

54. Plaintiff incorporates the foregoing allegations as if fully set forth
herein.

55. Plaintiff and the Class members’ paid money to Community Health in
exchange for its promise to provide patient services.

56. In addition to providing medical care, a material part of Community
Health’s promise to provide patient services involved protecting Plaintiffs and the
Class members’ Sensitive Information.

57. Inits written agreements as well as its patients’ rights and privacy
notices, Community Health expressly promised Plaintiff and members of the Class
that Community Health only discloses health information when required to do so
by federal or state law. Community Health further promised that it would protect
their Sensitive Information.

58. Community Health promised to comply with all HIPAA standards and

to make sure that Plaintiffs and the Class members’ Sensitive Information was

protected. Community Health further promised to provide notice to Plaintiff and

21
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 22 of 29

members of the Class describing Community Health’s legal duties and privacy
practices with respect to their Sensitive Information.

59. The contracts required Community Health to safeguard Plaintiff's and
the Class members’ Sensitive Information to prevent its disclosure and/or
unauthorized access

60. Plaintiff and the Class members fully performed their obligations
under the contracts.

61. Community Health did not adequately safeguard Plaintiffs and the
Class members’ protected Sensitive Information. Specifically, Community Health
did not comply with its promise to comply with HIPAA’s guidelines or industry
standards when it stored its patients’ Sensitive Information.

62. The failure to meet these promises and obligations constitutes an
express breach of contract. In other words, Community Health breached the
contracts with Plaintiff and the members of the Class by failing to implement
sufficient security measures to protect Plaintiffs and the Class members’ Sensitive
Information as described herein.

63. Community Health’s failure to fulfill its data security and
management promises resulted in Plaintiff and the Class members receiving

services that were of less value than they paid for (i.e., the provision of medical

22
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 23 of 29

care without adequate data security and management practices).

64. Stated otherwise, because Plaintiff and the Class paid for privacy
protections that they did not receive—even though such protections were a
material part of their contracts with Community Health—Plaintiff and the Class
did not receive the full benefit of their bargain.

65. Asaresult of Community Health’s breach, Plaintiff and the Class
suffered damages in the amount of the difference between the price they paid for
Community Health’s services as promised and the actual diminished value of its
health care services.

THIRD CAUSE OF ACTION
Breach of Implied Contract
(in the alternative to Breach of Express Contract)
(On Behalf of Plaintiff and the Class)

66. Plaintiff incorporates the foregoing allegations as if fully set forth
herein, excluding paragraphs 54-65.

67. In order to benefit from Community Health’s services, Plaintiff and
the Class disclosed Sensitive Information to Community Health, including their
names, addresses, telephone numbers, Social Security numbers, dates of birth, and
extremely sensitive medical diagnosis information.

68. By providing that Sensitive Information, and upon Community

Health’s acceptance of such information, Plaintiff and the Class, on the one hand,

23
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 24 of 29

and Community Health, on the other hand, entered into implied contracts whereby
Community Health was obligated to take reasonable steps to secure and safeguard
that information.

69. Under the implied contract, Community Health was further obligated
to provide Plaintiff and the Class with prompt and sufficient notice of any and all
unauthorized access and/or theft of their Sensitive Information.

70. Without such implied contracts, Plaintiff and the Class would not
have provided their personal information to Community Health.

71. As described herein, Community Health did not take reasonable steps
to safeguard Plaintiff's and the Class members’ Sensitive Information.

72. Because Community Health allowed unauthorized access to Plaintiff's ©
and the Class members’ Sensitive Information and failed to take reasonable steps
to safeguard their Sensitive Information, Community Health breached its implied
contracts with Plaintiff and the Class.

73. The failure to meet these promises and obligations constitutes a
breach of contract. In other words, Community Health breached the contracts by
failing to implement sufficient security measures to protect Plaintiffs and the
Class members’ Sensitive Information as described herein.

74. Community Health’s failure to fulfill its data security and

24
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 25 of 29

management promises resulted in Plaintiff and the Class receiving services that
were of less value than they paid for (i.e., the provision of medical care without
adequate data security and management practices).

75. Stated otherwise, because Plaintiff and the Class paid for privacy
protections that they did not receive—even though such protections were a
material part of their contracts with Community Health—Plaintiff and the Class
did not receive the full benefit of their bargain.

76. Asaresult of Community Health’s breach, Plaintiff and the Class
suffered damages in the amount of the difference between the price they paid for
Community Health’s services as promised and the actual diminished value of its
health care services.

FOURTH CAUSE OF ACTION
Restitution/Unjust Enrichment
(in the alternative to Counts II and III)
(On Behalf of Plaintiff and the Class)

77. Plaintiff incorporates the foregoing allegations as if fully set forth
herein, excluding paragraphs 54-76.

78. Ifthe Court finds Plaintiffs and the Class members’ contracts with
Community Health for protection of their Sensitive Information invalid, non-

existent, or otherwise unenforceable, Plaintiff and the Class may be left without

any adequate remedy at law.

25
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 26 of 29

79. Plaintiff and members of the Class conferred a monetary benefit on
Community Health in the form of fees paid for health care services. Community
Health appreciated or had knowledge of the benefits conferred upon it by Plaintiff
and the Class.

80. The fees for health services that Plaintiff and the Class paid to
Community Health were supposed to be used by Community Health, in part, to pay
for the administrative costs of data management and security.

81. Under principles of equity and good conscience, Community Health
should not be permitted to retain the money belonging to Plaintiff and members of
the Class, because Community Health failed to implement data management and
security measures that Plaintiff and the Class paid for and are otherwise mandated
by HIPAA and industry standards.

82. Accordingly, as a result of Community Health’s conduct, Plaintiff and
the Class suffered damages in the amount of the difference between the price they
paid for Community Health’s services as promised and the actual diminished value
of the health care services received.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff Roman, individually and on behalf of the Class,

respectfully requests that this Court enter an Order:

26
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 27 of 29

A. Certifying this case as a class action on behalf of the Class and
Pennsylvania Subclass defined above, and appointing Plaintiff as representative of
the Class and Pennsylvania Subclass, and appointing her counsel as Class Counsel;

B. Declaring that Community Health’s actions, as described above,
constitute (i) violations of the Pennsylvania Unfair Trade Practices and Consumer
Protection Law, 73 P.S. §§ 201-1, et seq., (ii) Breach of Express Contract, (iii)
Breach of Implied Contract (in the alternative to Breach of Express Contract), and
(iv) Unjust Enrichment (in the alternative to Breach of Express Contract and
Breach of Implied Contract);

C. | Awarding injunctive and other equitable relief as is necessary to
protect the interests of the Class, including: (i) an order prohibiting Community
Health from engaging in the wrongful and unlawful acts described herein, and (ii)
requiring Community Health to protect all data collected through the course of its
business in accordance with HIPAA and industry standards;

D. Awarding damages to Plaintiff and the Class in an amount to be
determined at trial;

E. Awarding restitution to Plaintiff and the Class in an amount to be
determined at trial;

F. Awarding Plaintiff and the Class their reasonable litigation expenses

and attorneys’ fees;
27
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 28 of 29

G. Awarding Plaintiff and the Class pre and post-judgment interest to the
maximum extent allowable by law; and
H. Awarding such other and further legal or equitable relief as equity and
justice may require.
JURY DEMAND
Plaintiff requests trial by jury of all claims that can be so tried.
Respectfully submitted,

CAROSELLI BEACHLER MCTIERNAN
& CONBOY, LLC

 

Dated: August 29, 2014 By: __/s/ William R. Caroselli
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28
Case 2:15-cv-00226-KOB Document1 Filed 08/29/14 Page 29 of 29

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ATTORNEYS FOR SUSAN ROMAN,

INDIVIDUALLY AND ON BEHALF OF ALL
OTHERS SIMILARLY SITUATED

29
